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CONFERENCE ATTENDANCE RECORD
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CASE NAME: IN RE: DEEPWATER HORIZON, ET AL.

DOCKET NUMBER & SECTION: MDL 2179

(DISCOVERY STATUS CONFERENCE

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NAME OF ATTORNEY PARTY(S) REPRESENTED
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NAME OF ATTORNEY PARTY(S) REPRESENTED
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Karen DeSantis - BP

Nat Chekeris - US

Robin Hanger - US

Dahlia Fetouh - non-party Woods Hole
Grant Davis Denny - TO

Stelia Pullman - MOEX

Shawn Brennan - M-I

Joe Eisert - BP

Tom Mariani - US
